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                          LINITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                                                                         C)-at-Jao         Wlrilu
 {-INITED STATES OF AMERICA.                    )    INDICTMENT
                                                )
                       Plaintiff,               ) (18 u.s.c. $ ezz(g)(sxA)
                                                ) (18 u.s.c. s eza@)Q))
                                                  (18
               v.                               ) u.s.c. $ e24(dx1))
                                                )    QI u.s.c.  $ 8a1(aX1))
KEVTNALANAGUTLAR-MORENO,                        )    (21 U.S.C. $ 841(bXlXA)
                                                )    (2r u.s.c. $ 853)
                       Defendant.               )    (28 U.s.c. $ 2461(c))

       THE UNITED STATES GRAND JURY CHARGES TTIAT:

                                  COT]NT 1
               @ossession With the Intent To Distribute Methamphetamine)

       On or about October 29,202I, in the State and District ofMinnesota, the Defendant,

                         KEVIN ALAN AGIIILAR-MORENO,

did unlawfully, knowingly and intentionally possess with the intent to distribute 500 grams

or more of a mixture and substance containing a detectable amount of methamphetamine,

a controlled substance, all in violation of Title   2l,United   States Code, Sections 8a1(aX1)

and 841(bX1XA).

                                   COUNT 2
                      @rohibited Person in Possession of Firearms)

     On or about October 29,2021, in the State and District of Minnesota, the Defendant,

                             KEVIN ALAN AGUILAR-MORENO'

then being an alien illegally and unlawfully in the United States, and knowing he was an

alien illegally and unlawfully in the United States, did knowingly possess in and affecting

interstate commerce, one or more firearms, namely a FN, Model 509 9x19 pistol, bearing

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                                                                               U.S, DISTRIET EOURT MPLS
          CASE 0:21-cr-00260-ECT-TNL Doc. 13 Filed 11/30/21 Page 2 of 3


United States v. Kevin Alan Aguilar-Moreno



serial number GKS0142562, and a Rock Island Armory, 1911 AI-FS pistol, bearing serial

number RIA1981231,           all in violation of Title 18, United          States Code, Sections

e22(d(s)(A) and e2a@)Q)          .



                                 FORFEITURE ALLEGATIONS

        If convicted of Count 1 of this Indictment, the Defendant,

                         KEVIN ALAN AGUILAR-MORENO,

shall forfeit to the United States, pursuant to Title 21, United States Code, Section 853, any

properly constituting, or derived from, any proceeds he obtained, directly or indirectly,          as


the result of each such violation, and any properly used, or intended to be used, in any

manner orpart,to commit, orto facilitatethe commission of each suchviolation, including,

but not limited to, a FN, Model 509 9x19 pistol, bearing serial number GKS0142562, a

Rock Island Armory, 1911 AI-FS pistol, an AR-15 type rifle, bearing no serial number,

and any ammunition and magazines seized therewith, and $3,567 in U.S. Currency, all

seized from the Defendant on October 29,202L              If any of the above-described property   is

unavailable for forfeiture, the United States intends to seek the forfeiture of substitute

properfy under TitIe 2I, United States Code, Section 853(p).

        If convicted of Count 2 of this Indictment. the Defendant.

                        KEVTN ALAN AGUILAR.MORENO,

        shall forfeit to the United States pursuant to Title 18, United States Code, Section

924(d)(I), in conjunction with Title 28, United States Code, Section 2461(c), any firearm

with accessories or any ammunition involved in or used in any knowing violation of section

922(d(5)(A) or 924(a)(2), including          a   FN, Model 509 9x19 pistol, bearing serial number
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United States v. Kevin Alan Aguilar-Moreno



GKS0142562, aRock Island Armory, 1911 AI-FS pistol, and an AR-15 type rifle, bearing

no serial number, and any ammunition andmagazines seized therewith.

                                             A TRUE BILL

ACTING UNITED STATES                ATTORNEY         FOREPERSON
